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 1   Andre Y. Bates (SBN 178170) (aybates@dehengsv.com)
     Steven A. Soloway (SBN 130774) (ssoloway@dehengsv.com)
 2   Keliang (Clay) Zhu (SBN 305509) (czhu@dehengsv.com)
     Yi Yao (SBN 292563) (yyao@dehengsv.com)
 3   DEHENG LAW OFFICES PC
     7901 Stoneridge Drive, Suite 208
 4   Pleasanton, CA 94588
     T: 925-399-6702
 5   F: 925-397-1976

 6   Attorneys for Plaintiffs
     Zhuoer Chen, Mengcheng Yu,
 7   Jiarong Ouyang, and Gexi Guo

 8                               UNITED STATES DISTRICT COURT

 9                              NORTHERN DISTRICT OF CALIFORNIA

10
     ZHUOER CHEN, an individual; MENGCHENG                 Case No. 3:25-cv-03292-SI
11   YU, an individual; JIARONG OUYANG, an
     individual; and GEXI GUO, an individual;
12                                                         PLAINTIFFS’ STATEMENT IN
                   Plaintiffs,                             OPPOSITION TO RELATE CHEN V.
13                                                         NOEM TO DOE V. TRUMP (Case No.
     vs.                                                   3:25-cv-03140-JSW)
14
     KRISTI NOEM, in her official capacity as
15   Secretary of the U.S. Department of Homeland
     Security; and TODD LYONS, in his official
16   capacity as Acting Director of U.S. Immigration
     and Customs Enforcement;
17
                   Defendants.
18

19
     John Doe,
20                 Plaintiff,
     vs.
21
     Donald J. TRUMP, in his official capacity,
22   President of the United States of America;

23   Moises BECERRA, in his official capacity,
     Acting Field Office Director of San Francisco
24   Office of Detention and Removal, U.S.
                                            -1-             CASE NO. 3:25-cv-03292
                           PLAINTIFFS’ STATEMENT IN OPPOSITION TO
                            RELATE CHEN V. NOEM TO DOE V. TRUMP
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 1   Immigrations and Customs Enforcement; U.S.
     Department of Homeland Security;
 2
     Todd M. LYONS, in his official capacity, Acting
 3   Director, Immigration and Customs Enforcement,
     U.S. Department of Homeland Security; and
 4
     Kristi NOEM, in her official capacity, Secretary,
 5   U.S. Department of Homeland Security;

 6                  Defendants.

 7          On April 7, 2025, a Doe Plaintiff filed a Complaint for Declaratory and Injunctive Relief

 8   Against Donald J. Trump, among others, Case No. 3:25-cv-03140-JSW.

 9          On April 11, 2025, four named Plaintiffs filed a Complaint for Declaratory and Injunctive

10   Relief against Kristi Noem, among others, Case No. 3:25-cv-03292-SI.

11          On April 16, 2025, the Honorable Susan Illston referred to the Honorable Jeffrey S.

12   White for consideration of whether Chen v. Noem et al. is related to Doe v. Trump, Case No. 25-

13   cv-3140-JSW.

14          Civil Local Rule 3-12(a) provides that “an action is related to another when:

15          (1)     The actions concern substantially the same parties, property, transaction, or event;

16   and

17          (2)     It appears likely that there will be an unduly burdensome duplication of labor and

18   expense or conflicting results if the cases are conducted before different Judges.

19          Neither of these criteria are satisfied here. First, the Plaintiffs are different. In Chen v.

20   Noem et al., there are four Plaintiffs, Zhuoer Chen, Mengcheng Yu, Jiarong Ouyang, and Gexi

21   Guo. Zhuoer Chen is a student of the Master of Architecture program at the University of

22   California, Berkeley. Chen v. Noem et al., ECF No. 1, ¶7. Mengcheng Yu is a masters’ student in

23   the Educational Technology and Applied Learning Sciences program at Carnegie Mellon

24   University. Id. at ¶8. Jiarong Ouyang is a doctoral candidate in Statistics at the University of
                                             -2-             CASE NO. 3:25-cv-03292
                            PLAINTIFFS’ STATEMENT IN OPPOSITION TO
                             RELATE CHEN V. NOEM TO DOE V. TRUMP
      Case 3:25-cv-03292-SI          Document 20       Filed 04/20/25     Page 3 of 5




 1   Cincinnati. Id. at ¶9. Gexi Guo earned a Master of Science in Applied Analytics from Columbia

 2   University. Id. at ¶10.

 3          In Doe v Trump et al., the Plaintiff, who is a software engineer in lawful F-1 status and

 4   currently employed pursuant to Optional Practical Taining (OPT) employment authorization,

 5   remained anonymous. Doe v. Trump et al., ECF No. 1, ¶1.

 6          Both cases involved two same defendants: KRISTI NOEM, in her official capacity as

 7   Secretary of the U.S. Department of Homeland Security; and TODD LYONS, in his official

 8   capacity as Acting Director of U.S. Immigration and Customs Enforcement. However, in Doe v.

 9   Trump et al., the Plaintiff named two additional defendants: Donald J. TRUMP, President of the

10   United States of America and MOISES BECERRA, Acting Field Office Director of San

11   Francisco Office of Detention and Removal, U.S. Immigrations and Customs Enforcement; U.S.

12   Department of Homeland Security.

13          Second, the two cases arise from fundamentally different factual and legal circumstances.

14   In Doe v. Trump et al., the plaintiff’s SEVIS termination followed a minor misdemeanor

15   conviction, for which he or she received probation. Doe v. Trump et al., ECF No. 1, ¶38. In

16   contrast, Chen v. Noem et al. involves Plaintiffs who have never been convicted of any crime.

17   Chen v. Noem et al., ECF No. 1, ¶¶ 26, 28, 32, 37. This distinction is legally significant: whereas

18   Doe may require case-specific analysis of post-conviction SEVIS authority, Chen challenges a

19   blanket, pattern-based SEVIS termination of students in full compliance with visa and academic

20   requirements. Plaintiffs in Chen seek a narrowly tailored injunction applicable only to F-1

21   students who have not been convicted of any offense. This discrete class of students—readily

22   identifiable through SEVIS and university records—makes nationwide relief not only

23   appropriate but manageable, and eliminates concerns about administrability or the need for

24   individualized adjudication present in Doe.
                                                -3-             CASE NO. 3:25-cv-03292
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 1          Third, there is little risk of unduly burdensome duplication of labor, expense, or

 2   conflicting outcomes because Chen v. Noem et al. involves distinct constitutional claims and a

 3   materially different factual record. Specifically, the Chen Plaintiffs assert an Equal Protection

 4   Clause violation based on a pattern of SEVIS terminations disproportionately targeting F-1

 5   students—many of whom are Chinese nationals—who have no criminal convictions. That claim

 6   is not raised in Doe v. Trump et al. Moreover, while both cases allege violations of the

 7   Administrative Procedure Act and the Fifth Amendment Due Process Clause, the legal and

 8   factual analyses are necessarily distinct. The Doe plaintiff had a prior misdemeanor conviction,

 9   which the government may assert as a discretionary or public safety justification for SEVIS

10   termination. By contrast, the Chen Plaintiffs have no criminal history and remain in full

11   compliance with their visa and academic obligations. These differences fundamentally alter the

12   scope and nature of the legal inquiry and reduce any overlap in discovery, briefing, or

13   adjudication.

14          Finally, and most importantly, there is no risk of conflicting rulings or inefficiency

15   because the relief sought in Chen is materially broader than in Doe. The Chen Plaintiffs seek a

16   nationwide injunction to halt a pattern of SEVIS terminations affecting a narrowly defined,

17   administrable group—F-1 students without criminal convictions—based on uniform legal and

18   procedural violations. The Doe matter, by contrast, seeks individualized relief based on a single

19   plaintiff’s post-conviction SEVIS termination. The nationwide scope of relief in Chen is not only

20   distinguishable—it makes the need to manage both cases together unnecessary, as the outcomes

21   will be driven by categorically different legal questions and remedial frameworks.

22          For the foregoing reasons, Plaintiffs respectfully submit that Chen v. Noem et al., Case

23   No. 3:25-cv-03292, is not properly related to Doe v. Trump et al., Case No. 3:25-cv-03140,

24   under Civil Local Rule 3-12. The two actions involve distinct factual records, legal claims, and
                                            -4-             CASE NO. 3:25-cv-03292
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 1   scopes of relief, and their adjudication in separate proceedings will not result in duplicative

 2   efforts, inconsistent rulings, or undue burden on the Court or the parties.

 3   Dated: April 20, 2025                         Respectfully submitted,

 4
                                                   DEHENG LAW OFFICES PC
 5                                                 /s/    Andre Y. Bates
                                                          Andre Y. Bates
 6                                                 Attorneys for Plaintiffs
                                                   Zhuoer Chen, Mengcheng Yu, Jiarong Ouyang, and
                                                   Gexi Guo
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                                              -5-             CASE NO. 3:25-cv-03292
                             PLAINTIFFS’ STATEMENT IN OPPOSITION TO
                              RELATE CHEN V. NOEM TO DOE V. TRUMP
